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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THE GREAT SEAL MOORISH SCIENCE          :    NO. 05-345
TEMPLE OF AMERICA, INCORPORATED,        :
EMBRYO CIRCLE SEVEN MOORISH SCIENCE :
TEMPLE OF AMERICA, INCORPORATED,       :
CONTINENTAL CONGRESS, MOORS ORDER :
OF THE ROUND TABLE, MOORISH DIVE      :
AND NATIONAL MOVEMENT, AND ALL        :
MINISTERS CONSULS, MOORISH            :
NATIONALS, DIPLOMATS OFFSPRING,       :
AND FAMILY MEMBERS, CITIZENS, ET AL :
      v.                               :
                                       :
STATE OF NEW JERSEY; ASBURY PARK       :
POLICE DEPARTMENT; SGT. JOHN           :
BROYLES; OFFICER JOSEPH P. SPALLINA;   :
OFFICER JOHN P. SOSDIAN III; PATRICIA  : JURY TRIAL DEMANDED
GREEN, COURT CLERK, ET AL; WALL       :
TOWNSHIP POLICE DEPARTMENT; SGT.       :
LANCELOTTI; SGT. BROCKLEY, ET AL;     :
JIM’S TOWING; RICHARD’S AUTO BODY;     :
AND ALL CITY, COUNTY AND STATE         :
AGENTS, ET AL                          :

                                         ORDER

       AND NOW, this        __ day of                    , 2005, upon consideration of Motion

of Defendant Asbury Park Police Department, to Dismiss Plaintiffs’ Complaint Pursuant to

Federal Rule of Civil Procedure 12(b)(6), and any Response thereto, it is hereby ORDERED and

DECREED that Plaintiff's Complaint is dismissed.




                                                                U.S.D.C., J.
        Case 2:05-cv-00345-GEKP Document 2 Filed 02/17/05 Page 2 of 11



MARSHALL, DENNEHEY, WARNER,
COLEMAN & GOGGIN                                 Attorney for Defendant
BY: John P. Gonzales, Esquire
Identification Number 71265
Suite 1002, One Montgomery Plaza
Norristown, PA 19401
(610) 292-4470
                       IN THE UNITED STATES DISTRICT COURT
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  MOTION OF DEFENDANT CITY ASBURY PARK POLICE DEPARTMENT’S, TO
                  DISMISS PLAINTIFFS' COMPLAINT
       PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

       Defendant Asbury Park Police Department, by and through its undersigned counsel,

Marshall, Dennehey, Warner, Coleman & Goggin and John P. Gonzales, Esquire, hereby file this

Motion to Dismiss Plaintiffs’ Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6)

and aver the following:
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       1.      Plaintiffs have filed the present civil action against moving Defendant, arising out

incidents that alleged occurred involving the Asbury Park Police Department. (A copy of

Plaintiffs’ Complaint is attached hereto as Exhibit "A").

       2.      Plaintiffs have brought forth various allegations against all of the defendants,

including the Defendant Asbury Park Police Department. It is not apparent based on the

language of the Complaint all of the causes of action that plaintiffs have asserted.

       3.      For the reasons more fully set forth in the Memorandum of Law, which is

attached hereto and incorporated herein by reference, Plaintiffs’ Complaint should be dismissed

with prejudice because Asbury Park Police Department is not a citizen of this venue and is a

public entity within the State of New Jersey.

       WHEREFORE, moving Defendants respectfully request that this Honorable Court

dismiss Plaintiffs’ Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                                Respectfully submitted,

                                                MARSHALL, DENNEHEY, WARNER,
                                                COLEMAN & GOGGIN

                                                _s/JG847 ____
                                                JOHN P. GONZALES, ESQUIRE
                                                Attorney for Defendants
                                                Suite 1002, One Montgomery Plaza
                                                Norristown, PA 19401
                                                610-292-4470 (Phone)
                                                610-292-0410 (Fax)
                                                jgonzales@mdwcg.com
                                                PA 71265
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 MARSHALL, DENNEHEY, WARNER,
COLEMAN & GOGGIN                                 Attorney for Defendant
BY: John P. Gonzales, Esquire
Identification Number 71265
Suite 1002, One Montgomery Plaza
Norristown, PA 19401
(610) 292-4470
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JIM’S TOWING; RICHARD’S AUTO BODY;     :
AND ALL CITY, COUNTY AND STATE         :
AGENTS, ET AL                          :
                  MEMORANDUM OF LAW IN SUPPORT OF
             MOTION OF ASBURY PARK POLICE DEPARMENT’S
            TO DISMISS PLAINTIFFS' COMPLAINT PURSUANT TO
               FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

I.      BACKGROUND:

        Plaintiffs have filed a Complaint which is vague and ambiguous as to the exact causes of

action which the plaintiffs seek relief. Essentially, it appears that plaintiffs are alleging false

arrest and violation of various civil rights, although an individual plaintiff is not actually named

in the Complaint. Rather, various organizations are the named plaintiffs.
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       Notwithstanding this apparent flaw, plaintiffs fail to cite any specific statutes or laws that

the defendants violated. Moreover, plaintiffs have asserted a cause of action against a public

entity from the State of New Jersey, named the Asbury Park Police Department. Because this

court lacks jurisdiction to entertain this lawsuit because the Asbury Park Police Department is

not a resident of this venue, the motion to dismiss must be granted.

II.    STANDARD OF REVIEW:

       Federal Rule of Civil Procedure 12(b)(6) permits a Court to dismiss all or part of an

action for failure to state a claim upon which relief can be granted. In ruling on a 12(b)(6)

Motion, the Court must accept as true all well pleaded allegations of fact, and any reasonable

inferences that may be drawn therefrom, in the Plaintiff’s Amended Complaint and must

determine whether “under any reasonable reading of the pleadings, the Plaintiff may be entitled

to relief.” Nami v. Fauver, 82nd F.3d 63, 65 (3rd Cir. 1996). “The Amended Complaint will be

deemed to have alleged sufficient facts if it adequately puts the defense on notice of the essential

elements of the Plaintiff’s cause of action.” Id.

       Although the Court must construe the Amended Complaint in the light most favorable to

the Plaintiff, it need not accept as true legal conclusions or unwarranted factual inferences.

Claims should be dismissed under Rule 12(b)(6) only if “it appears beyond doubt that the

Plaintiff can prove no set of facts in support of her claim which would entitle her to relief.” Id.

III.   ALLEGATIONS IN PLAINTIF'S’ COMPLAINT:

       Plaintiffs’ Complaint curiously does not contain specific counts against moving

Defendants. Throughout this Complaint, plaintiffs make various vague and ambiguous

allegations against the moving defendant without providing specifics as to the statute and/or law
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which the allegations are based on. It is thus impossible to guess as to the causes of action

brought by the plaintiffs.

IV.     ARGUMENT:

                Plaintiff’s Complaint Must Be Dismissed For Improper Venue

        Plaintiffs have brought suit against Moving Defendant in the Eastern District of

Pennsylvania. Moving Defendant is a public entity in the State of New Jersey only.

        "The district court of a district in which is filed a case laying venue in the wrong division

or district shall dismiss, or if it be in the interest of justice, transfer such case to any district or

division in which it could have been brought." 28 U.S.C. § 1406(a). A defendant may assert

improper venue in a motion to dismiss. Fed. R. Civ. P. 12(b)(3). Venue is clearly improper in

this court and in violation of 28 USC § 1391 (b). Moreover, Plaintiffs have failed to state why

venue is proper in this court.

        28 USC § 1391 (b) states:

                A civil action wherein jurisdiction is not founded solely on diversity of citizenship
                may, except as otherwise provided by law, be brought only in (1) a judicial
                district where any defendant resides, if all defendants reside in the same State, (2)
                a judicial district in which a substantial part of the events or omissions giving rise
                to the claim occurred, or a substantial part of property that is the subject of the
                action is situated, or (3) a judicial district in which any defendant may be found, if
                there is no district in which the action may otherwise be brought.

        Moving Defendant is a public entity within the State of New Jersey, therefore, venue is

not proper. Accordingly, Moving Defendant requests that Plaintiffs’ Complaint be dismissed

due to improper venue.
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       WHEREFORE, moving Defendant respectfully requests that this Honorable Court grant

moving Defendant’s Motion to Dismiss Plaintiffs’ Complaint Pursuant to Federal Rule of Civil

Procedure 12(b)(6) and dismiss Plaintiffs’ Complaint with prejudice.



                                            Respectfully submitted,


                                            MARSHALL, DENNEHEY, WARNER,
                                            COLEMAN & GOGGIN


                                            _s/JG847 ____
                                            JOHN P. GONZALES, ESQUIRE
                                            Attorney for Defendants
                                            Suite 1002, One Montgomery Plaza
                                            Norristown, PA 19401
                                            610-292-4470 (Phone)
                                            610-292-0410 (Fax)
                                            jgonzales@mdwcg.com
                                            PA 71265
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COLEMAN & GOGGIN                                 Attorney for Defendant
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AND ALL CITY, COUNTY AND STATE         :
AGENTS, ET AL                          :

                               CERTIFICATE OF SERVICE

              I, John P. Gonzales, Esquire, do hereby certify that a true and correct copy of

Motion of Defendant, Asbury Park Police Department, to Dismiss Plaintiffs’ Complaint Pursuant

to Federal Rule of Civil Procedure 12(b)(6), was served upon Plaintiffs by Certified Mail and

Overnight Mail and all other parties by first class mail on February 18, 2005 at the following

addressees:
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Post Office Box 55
Asbury Park, New Jersey 07712


                                    MARSHALL, DENNEHEY, WARNER,
                                    COLEMAN & GOGGIN


                                    _s/JG847 ____
                                    JOHN P. GONZALES, ESQUIRE
                                    Attorney for Defendants
                                    Suite 1002, One Montgomery Plaza
                                    Norristown, PA 19401
                                    610-292-4470 (Phone)
                                    610-292-0410 (Fax)
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